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                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF NEW YORK


In re Republic Metals Refining Corporation (Miami Metals I LLC), et al                      Case No. 18-13359
      Debtor                                                                       Reporting Period: 06/01/2019 - 06/30/2019

                                                                                  Federal Tax I.D. # XX-XXXXXXX

                                        CORPORATE MONTHLY OPERATING REPORT

     File with the Court and submit a copy to the United States Trustee within 15 days after the end of the month and
     submit a copy of the report to any official committee appointed in the case.
     (Reports for Rochester and Buffalo Divisions of Western District of New York are due 15 days after the end of
     the month, as are the reports for Southern District of New York.)

     REQUIRED DOCUMENTS                                                                Form No.          Document Explanation
                                                                                                         Attached Attached
     Schedule of Cash Receipts and Disbursements                                  MOR-1                         X
     Bank Reconciliation (or copies of debtor's bank reconciliations)             MOR-1 (CON'T)                 X
        Copies of bank statements
        Cash disbursements journals
     Statement of Operations                                                      MOR-2                         X
     Balance Sheet                                                                MOR-3                         X
     Status of Post-petition Taxes                                                MOR-4                         X
        Copies of IRS Form 6123 or payment receipt
        Copies of tax returns filed during reporting period
     Summary of Unpaid Post-petition Debts                                        MOR-4                         X
        Listing of Aged Accounts Payable
     Accounts Receivable and Payable Reconciliation and Aging                     MOR-5                         X
     Payments to Insiders and Professional                                        MOR-6                         X
     Debtor Questionnaire                                                         MOR-7                         X

     I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
     are true and correct to the best of my knowledge and belief.

     Signature of Debtor                                                                                Date:             7/22/2019

     Signature of Authorized Individual*                                                                Date:             7/22/2019

     Printed Name of Authorized Individual          Scott Avila, CRO                                    Date:             7/22/2019

     *Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor is a
     partnership; a manager or member if debtor is a limited liability company.




                                                                                                                                 FORM MOR
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In re Republic Metals Refining Corporation (Miami Metals I LLC              Case No.      18-13359
      Debtor                                                       Reporting Period: 06/01/2019 - 06/30/2019




      Debtor                                                     Case Number              Date Filed     Debtor's Old Name
  1   Miami Metals I LLC                                         18-13359                 11/2/2018      Republic Metals Refining Corporation ("RMRC")
  2   Miami Metals II LLC                                        18-13360                 11/2/2018      Republic Metals Corporation ("RMC")
  3   Miami Metals III LLC                                       18-13361                 11/2/2018      Republic Carbon Company ("RCC")
  4   Miami Metals IV LLC                                        18-13642                11/21/2018      J&L Republic, LLC ("J&L")
  5   Miami Metals V LLC                                         18-13643                11/21/2018      R & R Metals, LLC ("R&R")
  6   Republic Metals Trading (Shanghai)Co, Ltd. ("RMT")         13-13645                11/21/2018      Republic Metals Trading (Shanghai)Co, Ltd. ("RMT")
  7   Republic Trans Mexico Metals, SRL ("RTMM")                 13-13644                11/21/2018      Republic Trans Mexico Metals, SRL ("RTMM")
  8   Miami Metals VI LLC                                        18-13639                11/21/2018      RMC Diamonds
  9   Miami Metals VII LLC                                       18-13641                11/21/2018      RMC2, LLC ("RMC2")
 10   Miami Metals VIII LLC                                      18-13638                11/21/2018      Republic High Tech Metals, LLC ("High Tech")

Note: Debtors 1-3 filed first on 11/2/18; the remaining Debtors filed on 11/21/18
      Debtors new name has been updated
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In re Republic Metals Refining Corporation (Miami Metals I LLC), et al                 Case No.         18-13359
      Debtor                                                                  Reporting Period: 06/01/2019 - 06/30/2019




                                                        General Notes
     Compliance with GAAP: The financial statements and supplemental information contained herein are unaudited,
     preliminary, and may not comply with generally accepted accounting principles in the United States of America (“U.S.
     GAAP”) in all material respects.


     Reporting Period: Unless otherwise noted, the balance sheet information provided herein is current for each Debtor as
     of June 30, 2019. The statement of operations reflects transactions during June 2019 for all Debtors. Note that the
     Debtors have historically prepared their financial statements on a quarterly basis rather than monthly. As such, the
     financial statements presented here are non-standard for the Debtors and are subject to change.


     Accuracy: The Debtors have prepared the financial statements based on the information reflected in the Debtors’ books
     and records. However, inasmuch as the Debtors’ books and records have not been audited, and monthly financial
     statements are non-standard for the Debtors as mentioned above, the Debtors cannot warrant the absolute accuracy of
     these documents. The Debtors have made a diligent effort to complete these documents accurately and completely. To
     the extent additional information becomes available at a later date indicating prior period adjustments or other
     disclosures are necessary, the Debtors will provide such information as appropriate.


     Results Not Reflective of Future Performance: The results of operations contained herein are not necessarily
     indicative of results which may be expected from any other period or for the full year and may not necessarily reflect
     the results of operations, financial position, and cash flows of the Debtors in the future.

     Liabilities Subject to Compromise – As a result of the chapter 11 filing, the payment of prepetition indebtedness is
     subject to compromise or other treatment under applicable provisions of the Bankruptcy Code. The determination of
     how liabilities will ultimately be settled and treated cannot be made at this time. Accordingly, the ultimate amount of
     such liabilities is not determinable at this time. The amounts currently classified as Liabilities Subject to Compromise
     are preliminary, subject to future adjustments, and may be settled for greater or lesser amounts, depending on Court
     actions, further developments with respect to disputed claims, determinations of the secured status of certain claims, the
     values of any collateral securing such claims, rejection of executory contracts, continued reconciliation or other events.
     As additional information becomes available and further research is conducted, the allocation of liabilities between
     prepetition and postpetition periods may change.


     Bank Account Reconciliations & Cash Disbursement Journals – The Debtor affirms that bank reconciliations are
     prepared for all open and active bank accounts on a monthly basis.
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In re Republic Metals Refining Corporation (Miami Metals I LLC), et al                                                                                                          Case No.                                 18-13359
      Debtor                                                                                                                                                           Reporting Period:                        06/01/2019 - 06/30/2019

      MOR 1 - Schedule Of Receipts and Disbursements by Legal Entity


                                                                                 05/31 Ending                         Total           Total Cash            Total
                                                                                               Total Cash Receipts                                                              06/30 Ending Bank
      Debtor New Name                                  Case No.                  Bank Cash                            Intercompany Disbursements to         Intercompany
                                                                                               from 3rd Party                                                                   Cash Balance
                                                                                 Balance                              Receipts        3rd Party             Disbursements
  1 Miami Metals I LLC                                 18-13359                   $    120,593                                                                                   $         120,593
  2 Miami Metals II LLC                                18-13360                    105,192,255              8,216,148      72,747,527           (3,555,595)        (72,549,349)        110,050,977
  3 Miami Metals III LLC                               18-13361                             33                                    926                 (476)               (476) $                7

                                                                                   105,312,881                     8,216,148                            (3,556,071)                               110,171,578




                                                                                 05/31 Ending                                  Total           Total Cash             Total
                                                                                               Total Cash Receipts                                                                         06/30 Ending Bank
      Debtor New Name                                                            Bank Cash                                     Intercompany    Disbursements to       Intercompany
                                                                                               from 3rd Party                                                                              Cash Balance
                                                 Case No.                        Balance                                       Receipts        3rd Party              Disbursements
  4   Miami Metals IV LLC                        18-13642                         $ 2,224,310                                                                                              $        2,224,310
  5   Miami Metals V LLC                         18-13643                                  -                                                                                                              -
  6   Republic Metals Trading (Shanghai)Co, Ltd. 13-13645                               11,478                                                               (319)                                     11,159
  7   Republic Trans Mexico Metals, SRL          13-13644                              729,890                                        55,000              (63,446)            (253,628)               467,815
  8   Miami Metals VI LLC                        18-13639                                  -                                                                                                              -
  9   Miami Metals VII LLC                       18-13641                                  -                                                                                                              -
 10   Miami Metals VIII LLC                      18-13638                                  -                                                                                                              -

      Total                                                                       $   2,965,678     $                     -                    $          (63,766)                         $        2,703,284


      Combined Total                                                              $108,278,559      $              8,216,148                   $        (3,619,837)                        $      112,874,862

Notes:
* Does not include brokerage balances held in Raymond James which is detailed on MOR 1(a)
* Total Balance does not include petty cash, estimated at less than $500
* Cash receipts from 3rd party were generated from liquidation of metal inventory at market prices less minor discounts
* Intercompany cash receipts and disbursements between debtors account are reported separately
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In re Republic Metals Refining Corporation (Miami Metals I LLC), et al                                                   Case No.        18-13359
Debtor                                                                                                          Reporting Period: 06/01/2019 - 06/30/2019

                                          MOR 1(a) - SCHEDULE OF BANK ACCOUNT BALANCES

                                                                                                                   Account        USD Bank Balance as of
     Debtor                                            Bank Name                     Account Description
                                                                                                                   Number               06/30/2019
     Miami Metals I LLC                                            TD Bank                       Supplies              x9975      $                  -
                                                                   TD Bank                        Payroll              x9983      closed
                                                                  Bank Leumi                    Operating              x4800      closed
                                                                   TD Bank                      Operating              x9967                     120,593
     Miami Metals II LLC                                            5th3rd                      Operating              x9882      closed
                                                                     HSBC                       Operating              x4728      closed
                                                                  Woodforest                    Operating              x7138                         795
                                                                   Hapoalim                     Operating              x8601                         410
                                                                  Bank Leumi                    Operating              x0901                     658,155
                                                                      BBH                       Operating              x2961                         242
                                                                   TD Bank                        Payroll              x9959                         -
                                                                   TD Bank                       Products              x6941      closed
                                                                  Bank Leumi                    Checking               x5800      closed
                                                                   TD Bank                       Supplies              x9072                         -
                                                                   TD Bank                   Workers' Comp.            x9064                         -
                                                                   TD Bank                      Operating              x9056                   8,036,390
                                                                   TD Bank                        Metals               x9080      closed
                                                                   TD Bank                       Prepaid               x3422                   4,695,985
                                                                   TD Bank                   Auction Deposits          x3414      closed
                                                                 Bank Leumi (1)                3 Month CD                -                    25,326,767
                                                                 Bank Leumi (1)               Money Market             x3100                  71,332,233
     Miami Metals III LLC                                          TD Bank                       Supplies              x0832                         -
                                                                     HSBC                       Operating              x1600      closed
                                                                   TD Bank                      Operating              x0436                           7
                                                                   TD Bank                        Payroll              x0759                         -
                                                                     HSBC                        Supplies              x1618      closed
     Miami Metals IV LLC                                           TD Bank                      Operating              x0037                   2,224,310
     Miami Metals V LLC                                            TD Bank                      Operating              x0029                         -
     Republic Metals Trading (Shanghai)Co, Ltd.                      ICBC                     RMB Operating            x0293                      11,159
                                                                     ICBC                     USD Operating            x6833                         -
     Republic Trans Mexico Metals, S. De RL                          HSBC                       Operating              x2759      closed
                                                                     HSBC                        Supplies              x6787                          62
                                                                     HSBC                         Metals               x6893      closed
                                                                 Banco Azteca                 Operating USD            x3758      closed
                                                                 Banco Azteca                 Operating MXP            x8587      closed
                                                                      BX+                     Operating MXP            x8572                       4,181
                                                                     BX+                      Operating USD            x8573                     463,572
     Miami Metals VI LLC                                           TD Bank                      Operating              x0045      closed
     Miami Metals VII LLC                                         Bank Leumi                    Operating              x9001      closed
                                                                   TD Bank                      Checking               x8909      closed
                                                                   TD Bank                      Operating              x9204      closed
     Miami Metals VIII LLC                                           HSBC                       Operating              x1456      closed
                                                                     HSBC                        Supplies              x1464      closed
                                                                   TD Bank                      Operating              x9415      closed
                                                                   TD Bank                        Payroll              x9340      closed
                                                                   TD Bank                       Supplies              x9390      closed
                                                                                                                       Total      $          112,874,862

     Brokerage Accounts
                                                                                                                   Account       USD Broker Balance as of
     Debtor                                            Bank Name                     Account Description
                                                                                                                   Number              06/30/2019
     Miami Metals II LLC                               Raymond James Brokerage                  Brokerage              xU754     $                     7
     Miami Metals II LLC                               Raymond James Brokerage                  Brokerage              xM427             closed
     Miami Metals II LLC                               Rosenthal Collins Group                  Brokerage              x3841             closed
     Miami Metals II LLC                               ICBC FTZ (China)                         Brokerage              x3955                      9,980
     Miami Metals II LLC                               INTL FC Stone Futures Value              Brokerage              x5589             closed
                                                                                                                        Total    $                9,987

     Notes:                                                                                                                       $          112,884,849
     The cash balances carried in the various Brokerage accounts are NOT included on MOR 1
     Accounts listed as "closed" were closed in November 2018 thru June 2019
     (1) New bank accounts
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In re Republic Metals Refining Corporation (Miami Metals I LLC), et al                                                                                                                              Case No. 18-13359
Debtor                                                                                                                                                                                     Reporting Period: 06/01/2019 - 06/30/2019

                                                                                    MOR 1(b) - SCHEDULE OF PROFESSIONAL FEES PAID - As of 06/30/2019

                                                                                                                     Amount Applied to Retainer       Amount Paid in Cash              Case-to-Date              Retainer Balance
      Payee                                   Role                              Period Covered     Payment Date         Fees         Expenses          Fees        Expenses         Fees        Expenses             Amount
      Akerman LLP                             Debtor Counsel                  04/01/19-04/30/19      6/4/2019                                           464,470        11,220      2,851,110       139,860                     -
      CBIZ                                    UCC Financial Advisor           04/01/19-04/30/19     6/28/2019                                -          128,603           277        750,177         9,126                     -
      Cooley LLP                              UCC Counsel                     04/01/19-04/30/19     6/28/2019                                -          544,411        25,274      2,149,132        72,486
      Donlin, Recano & Company, Inc           Claims and Noticing Agent       05/01/19-05/31/19     6/18/2019                                -           63,088           -          494,610           -                   10,000
      Greenberg Traurig                       Lenders Counsel                 04/01/19-04/30/19     6/18/2019                                -            1,232             6         38,421         3,317                    -
      Haynes & Boone                          Lenders Counsel                 05/01/19-05/31/19     6/10/2019                                -            3,139           -           81,492         2,334                    -
      Luskin, Stern & Eisler LLP              Lenders Counsel                 05/01/19-05/31/19     6/18/2019                                -          287,982         3,026      1,433,178        22,395                100,000
      Paladin Management Group                Company Financial Advisor                                                                      -              -             -        3,789,894       450,180                250,000
      RPA Advisors                            Lenders Financial Advisor       05/01/19-05/31/19      6/10/2019                               -           21,059           -          938,518        41,373                200,000
      SSG ADVISORS, LLC                       Debtor Investment Banker                      -                    -            -              -              -             -          683,581         7,224                    -
      UST                                     Trustee Fees                                                                    -              -              -             -          219,973           -
                                                            TOTAL                                                    $        -    $         -    $   1,513,984 $      39,803   $ 13,430,086 $     748,294   $            560,000
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In re Republic Metals Refining Corporation (Miami Metals I LLC), et al                                                                         Case No.     18-13359
      Debtor                                                                                                                          Reporting Period: 06/01/2019 - 06/30/2019

                                                         MOR 2 - STATEMENT OF OPERATIONS - UNAUDITED SUBJECT TO CHANGE

                                                                                                                   June 1, 2019 to June 30, 2019

                                                                                                                                                                                        Republic Metals
                                                              Miami Metals I         Miami Metals II         Miami Metals III Miami Metals IV                 Miami Metals V                Trading
                                                                  LLC                     LLC                     LLC              LLC                             LLC                 (Shanghai)Co, Ltd.

     Case Number:                                                 18-13359               18-13360                18-13361                 18-13642                18-13643                   13-13645


     Revenue      (1)                                         $             -       $        8,116,295 $                     -        $              -       $                 -       $                  -

     COGS (2)                                                               -                8,077,089                       -                       -                         -                          -

     Gross Margin                                                           -                    39,206                      -                       -                         -                          -

     Operating Expenses
     Supplies                                                              -                      4,642                      -                       -                         -                        -
     Auto Expenses                                                         -                        -                        -                       -                         -                        -
     Rent Expense (3)                                                      -                     34,753                      -                       -                         -                        -
     Repairs & Maintenance                                                 -                        -                        -                       -                         -                        -
     Shipping & Freight                                                    -                     37,173                      -                       -                         -                        -
     Taxes & Licenses                                                      -                        -                        -                       -                         -                        -
     Telephone & Travel                                                    -                        -                        -                       -                         -                        -
     Utilities                                                             -                        -                            54                  -                         -                        -
     Security                                                              -                     21,548                      -                       -                         -                        -
     Health Insurance                                                      -                        -                        -                       -                         -                        -
     Insurance                                                             -                     32,223                                              -                         -                        -
     SS & Medicare                                                         -                     10,981                     -                        -                         -                        -
     Bank Charges                                                          -                      1,301                     -                        -                         -                        -
     Equipment Leasing                                                     -                      5,468                     -                        -                         -                        -
     Computer Services                                                     -                      1,205                     -                        -                         -                        -
     Refining Charges                                                      -                    141,481                     -                        -                         -                        -
     Payroll                                                               -                    170,885                     -                        -                         -                        -
     Service Charges                                                       -                        -                       -                        -                         -                        -
     Uniforms                                                              -                        -                       -                        -                         -                        -
     Contract / Professional Services                                    6,758                   80,306                     422                      -                         -                     15,682
     401K                                                                  -                        -                       -                        -                         -                        -
     Total Operating Expenses                                            6,758                  541,965                     476                      -                         -                     15,682

     Operating Income                                                    (6,758)               (502,759)                   (476)                     -                         -                    (15,682)

     Other Expenses (Income)
     Depreciation Expense                                                   -                       -                        -                       -                         -                          -
     Interest Expense                                                                           619,522                                              -                         -                          -
     Interest Income                                                                           (216,506)                                                                                                  -
     Write-Down of Investments - Jewelry (4)                                -                       -                                                                                                     -
     UST Fees                                                                                       -                                                -                         -                          -
     Restructuring Fees & Expenses (5)                                                          873,766                                              -                         -                          -
     Claims Administrator                                                   -                    63,088                      -                       -                         -                          -
     Unsecured Creditors Advisors and Counsel                               -                   698,565                      -                       -                         -                          -

     Net Loss                                                 $          (6,758) $          (2,541,194) $                  (476) $                   -       $                 -       $            (15,682)

     Notes
     (1) Revenue during this reporting period was generated from liquidation of metal inventory at market prices with applicable premiums or discounts. All intercmopany transactions among the entities
     have been eliminated.
     (2) The Debtors do not maintain a traditional financial costing/perpetual inventory system, and as such historically have not calculated COGS directly in the general ledger. Further, the Debtors do not
     prepare monthly financial statements. For purposes of this analysis, COGS has been estimated presuming the cost of metal sold comprises ounces at market price less premiums, treatment charges,
     and retention amounts assessed on raw material received.
     (3) A late payment on RTMM's building lease could trigger a default, requiring a penalty payment in excess of $43,000, an amount equal to the remaining rent under the existing lease term (August
     2019).
     (4) As restructuring-related items are uncertain, no accrual was recorded during the reporting period. Prior to the petition date, the Debtors funded retainers as shown on the balance sheet for
     restructuring professionals. Going forward, the Debtors will be reporting both draws against the retainers and cash payments related to restructuring expenses.
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In re Republic Metals Refining Corporation (Miami Metals I LLC), et al                                                                     Case No.     18-13359
      Debtor                                                                                                                      Reporting Period: 06/01/2019 - 06/30/2019

                                            MOR 2 - STATEMENT OF OPERATIONS - UNAUDITED SUBJECT TO CHANGE

                                                                                                      June 1, 2019 to June 30, 2019

                                                             Republic Trans
                                                                                    Miami Metals VI           Miami Metals Miami Metals VIII                  Combined Total
                                                             Mexico Metals,
                                                                                         LLC                     VII LLC         LLC                            All Debtors
                                                                  SRL

     Case Number:                                                 13-13644               18-13639                18-13641                18-13638


     Revenue      (1)                                         $             -       $                 -      $               -      $                -       $         8,116,295

     COGS (2)                                                               -                         -                      -                       -                 8,077,089

     Gross Margin                                                           -                         -                      -                       -                     39,206

     Operating Expenses
     Supplies                                                              -                                                                         -                     4,642
     Auto Expenses                                                         -                                                                         -                       -
     Rent Expense (3)                                                   11,003                                                                       -                    45,756
     Repairs & Maintenance                                                 -                                                                         -                       -
     Shipping & Freight                                                    -                                                                         -                    37,173
     Taxes & Licenses                                                    4,548                                                                       -                     4,548
     Telephone & Travel                                                    -                                                                         -                       -
     Utilities                                                             -                                                                         -                         54
     Security                                                              -                                                                         -                    21,548
     Health Insurance                                                      -                                                                         -                       -
     Insurance                                                           2,688                                               -                       -                    34,911
     SS & Medicare                                                         -                                                                         -                    10,981
     Bank Charges                                                          -                                                                         -                     1,301
     Equipment Leasing                                                     -                                                                         -                     5,468
     Computer Services                                                     -                                                                         -                     1,205
     Refining Charges                                                      -                                                                         -                   141,481
     Payroll                                                            33,721                                                                       -                   204,606
     Service Charges                                                       -                                                                         -                       -
     Uniforms                                                              -                                                                         -                       -
     Contract / Professional Services                                    9,643                                                                       -                   112,811
     401K                                                                  -                                                                         -                       -
     Total Operating Expenses                                           61,603                        -                      -                       -                   626,484

     Operating Income                                                  (61,603)                       -                      -                       -                  (587,278)

     Other Expenses (Income)
     Depreciation Expense                                               7,640                         -                      -                       -                     7,640
     Interest Expense                                                     -                           -                      -                       -                   619,522
     Interest Income                                                      -                           -                      -                       -                  (216,506)
     Write-Down of Investments - Jewelry                                  -                           -                      -                       -                       -
     UST Fees                                                             -                           -                      -                       -                       -
     Restructuring Fees & Expenses (4)                                215,539                         -                      -                       -                 1,089,305
     Claims Administrator                                                 -                           -                      -                       -                    63,088
     Unsecured Creditors Advisors and Counsel                             -                           -                      -                       -                   698,565

     Net Loss                                                 $      (284,782) $                      -      $               -      $                -       $        (2,848,892)

     Notes
     (1) Revenue during this reporting period was generated from liquidation of metal inventory at market prices with applicable premiums or discounts. All intercmopany transactions among the entities
     have been eliminated.
     (2) The Debtors do not maintain a traditional financial costing/perpetual inventory system, and as such historically have not calculated COGS directly in the general ledger. Further, the Debtors do not
     prepare monthly financial statements. For purposes of this analysis, COGS has been estimated presuming the cost of metal sold comprises ounces at market price less premiums, treatment charges,
     and retention amounts assessed on raw material received.
     (3) A late payment on RTMM's building lease could trigger a default, requiring a penalty payment in excess of $43,000, an amount equal to the remaining rent under the existing lease term (August
     2019).
     (4) As restructuring-related items are uncertain, no accrual was recorded during the reporting period. Prior to the petition date, the Debtors funded retainers as shown on the balance sheet for
     restructuring professionals. Going forward, the Debtors will be reporting both draws against the retainers and cash payments related to restructuring expenses.
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In re Republic Metals Refining Corporation (Miami Metals I LLC), et al                                                                                                                                           Case No.     18-13359
      Debtor                                                                                                                                                                                            Reporting Period: 06/01/2019 - 06/30/2019

      MOR 3 - BALANCE SHEET- UNAUDITED SUBJECT TO CHANGE

                                                                                                                                                    Republic Metals
                                                                                                                                                                    Republic Trans Miami
                                                               Miami       Miami Metals II   Miami          Miami         Miami                         Trading                                         Miami Metals VII       Miami Metals       Combined Total
                                                                                                                                                                       Mexico      Metals VI
                                                             Metals I Inc.     Inc.        Metals III LLC Metals IV LLC Metals V LLC                 (Shanghai)Co,                                            LLC                 VIII LLC         All Debtors (1)
                                                                                                                                                                     Metals, SRL     LLC
                                                                                                                                                          Ltd.

      Case Number:                                               18-13359          18-13360            18-13361        18-13642         18-13643        13-13645             13-13644       18-13639         18-13641             18-13638

ASSETS
Current Assets
      Cash and Cash Equivalents     (1a) (10)                $     113,835     $   110,049,734     $           7   $ 2,224,310      $         -     $         11,159     $      467,815     $     -      $              -     $             -      $ 112,866,861
      Brokerage Accounts                                               -                 9,987               -             -                  -                  -                  -             -                     -                   -              9,987
      Accounts Receivable                                           51,254              20,126               -             -                  -                  -                  -             -                     -                   -             71,380
      Other Current Assets (2)                                         -            22,554,961         4,126,134           -                  -                  -                  -             -                     -                   -         26,681,095
      Inventory (3)                                                    -             3,631,649                             -                  -                  -                  -             -                     -                   -          3,631,649
      Retainer Balance (4)                                             -               560,000               -             -                  -                  -                  -             -                     -                   -            560,000
      Prepaid Expenses (5)                                             -                83,282            13,000           -                  -                  -              725,389           -                     -                   -            821,671

TOTAL CURRENT ASSETS                                               165,089         136,909,740         4,139,141       2,224,310              -               11,159          1,193,205           -                     -                   -          144,642,644

      Net Property, Plant & Equipment                                   -                   -                -               -                -                   -             458,830           -                     -                   -              458,830
      Investments                                                       -                   -                -               -                -                   -                 -             -                     -                   -                  -

TOTAL ASSETS                                                 $     165,089     $   136,909,740     $ 4,139,141     $ 2,224,310      $         -     $         11,159     $ 1,652,035        $     -      $              -     $             -      $ 145,101,474

LIABILITIES
     Post Petition Vendor Payables                                      -             1,037,736    $         -     $         -      $         -     $         15,613     $           -      $     -      $              -     $             -      $      1,053,349
     Other Liabilities (8)                                              -               825,871              -               -                -                  -                   -            -                     -                   -               825,871
     Liabilities Subject to Compromise
     Metal Obligations - Payables (6)                            1,187,416         100,072,281           821,294             -                -                  -           16,717,844           -              6,296,154                  -          125,094,989
     Vendor Payables (Pre-Petition)                                 17,253           1,741,667           294,640             -                -                  497            207,239           -                  1,547                  -            2,262,842
     Bank Debt (7)                                                     -           177,274,134               -               -                -                                                   -                    -                    -          177,274,134
     Capital Lease Obligations                                         -                   -                 -               -                -                   -                  -            -                    -                    -                  -

TOTAL LIABILITIES                                            $ 1,204,669       $   280,951,687     $ 1,115,934     $         -      $         -     $         16,110     $ 16,925,083       $     -      $       6,297,701    $             -      $ 306,511,184

Common Stock                                                 $        1,000 $        7,500 $       -               $         -      $         -     $             -    $       -    $             -      $             -    $               -      $          8,500
Additional Paid-in Capital                                            9,000      2,333,350         -                         -                -                   -            -                  -                    -                    -             2,342,350
Retained Earnings                                                (1,049,580)  (146,382,798)  3,023,208                 2,224,310              -                (4,951) (15,273,048)               -             (6,297,701)                 -          (163,760,560)

TOTAL STOCKHOLDERS DEFICIENCY                                    (1,039,580)       (144,041,948)       3,023,208       2,224,310              -                (4,951)       (15,273,048)         -             (6,297,701)                 -          (161,409,710)

TOTAL LIABILITIES AND STOCKHOLDERS DEFICIENCY                $     165,089     $   136,909,740     $ 4,139,141     $ 2,224,310      $         -     $      11,158.91     $ 1,652,035        $     -      $              -     $             -      $ 145,101,474




Notes:
(1) All intercompany assets/liabilities/equity among the entities have been eliminated. J&L Republic and R&R Metals are equal owners of RTMM; the value of their respective investments in RTMM and their own paid-in capital are combined into RTMM. RMC
Diamonds and Republic High Tech Metals are not active entities.
(1a) Cash equivilatens are calculated on an accrual basis. Outstanding checks are factored in the book cash balance.
(2) Other Current Assets represent amounts due from third-parties for estimated quantities of material shipped to them for additional processing. These values are based on market prices as of the reporting date, and remain uncertain until final assay analyses
are performed and agreed, which in certain cases can take months and can vary materially from estimated material content. Note that in November 2018, other current assets and accounts receivable were reported as a combined figure, but in order to reflect
a more accurate accounting for these items, we have separated into two separate balance sheet items in December 2018 and remain in other current assets in June 2019.
(3) Inventory balances reflect market prices as of the reporting date. The sale and collectability of the proceeds are highly uncertain
(4) Retainers are detailed on MOR 1(b)
(5) Prepaid Expenses comprised primarily of prepaid commercial insurance premiums and prepaid taxes.
(6) Metal Obligations - Payables reflects estimated amounts owed to mines and other providers of material for refining. Estimates are based on quantities received, valued at market prices as of the reporting date.
(7) Bank Debt reflects senior secured loans held by Rabobank, ICBC, Techemet, Bank Hapaolim, INTL, Mitsubishi, Brown Brothers Harriman, and Hain Capital
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In re Republic Metals Refining Corporation (Miami Metals I LLC), et al          Case No. 18-13359
      Debtor                                                           Reporting Period: 06/01/2019 - 06/30/2019

                                                            STATUS OF POST-PETITION TAXES
     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.
                                                                            Amount
                                                         Beginning          Withheld                                                    Check # or
                                                           Tax           and/or Accrued Amount Paid                 Date Paid             EFT                   Ending Tax
     Federal
     Withholding                                       $   (6.36)         $ 51,659.90           $ 51,659.90 Various*                    Various             $          (6.36)
     FICA-Employee                                     $ (34.24)          $ 10,980.53           $ 10,980.53 Various*                    Various             $         (34.24)
     FICA-Employer                                     $ (33.90)          $ 10,980.53           $ 10,980.53 Various*                    Various             $         (33.90)
     Unemployment                                      $ (112.02)         $       -             $       -   Various*                    Various             $        (112.02)
     Income                                                  -                                                                                              $            -
     Other:_____________                                     -                                                                                              $            -
       Total Federal Taxes                             $ (186.52)         $ 73,620.96           $ 73,620.96                                                 $        (186.52)
     State and Local
     Withholding                                       $ (21.54)                                                                                            $         (21.54)
     Sales                                             $      -                                                                                             $            -
     Excise                                            $      -                                                                                             $            -
     Unemployment                                      $ 3,275.82                                                                                           $       3,275.82
     Real Property                                     $      -                                                                                             $            -
     Personal Property                                 $      -                                                                                             $            -
     Other:NY Family Leave and Disability              $ 325.65                                                                                             $         325.65
       Total State and Local                           $ 3,579.93 $                     -                                                                   $       3,579.93

     Total Taxes                                       $ 3,393.41         $ 73,620.96           $ 73,620.96         $       -           $       -           $       3,393.41

                                                   SUMMARY OF UNPAID POST-PETITION DEBTS
     Attach aged listing of accounts payable.
                                                                                                Number of Days Past Due
                                                           Current               0-30                31-60              61-90               Over 91               Total
     Accounts Payable (1)                                                 $ 1,053,349 $                       -     $           -       $           -       $      1,053,349
     Wages Payable                                                   -                      -                  -                    -                   -                    -
     Taxes Payable                                                                   3,393                     -                    -                   -                 3,393
     Rent/Leases-Building                                            -                      -                  -                    -                   -                    -
     Rent/Leases-Equipment                                           -                      -                  -                    -                   -                    -
     Secured Debt/Adequate Protection                                -                      -                  -                    -                   -                    -
     Payments
     Professional Fees                                               -                      -                  -                    -                   -                    -
     Amounts Due to Insiders                                         -                      -                  -                    -                   -                    -
     Other:______________                                            -                      -                  -                    -                   -                    -
     Other:______________                                            -                      -                  -                    -                   -                    -
     Total Post-petition Debts                         $            -     $ 1,056,742 $                       -     $           -       $           -       $      1,056,742
     Explain how and when the Debtor intends to pay any past due post-petition debts.




     Notes:
     * Various dates paid -- see payment confirmation attached
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Republic Metals Refining Corporation (Miami Metals I LLC), et al                                                                                             Case No.    18-13359
Debtor                                                                                                                                              Reporting Period: 06/01/2019 - 06/30/2019

MOR 5 - AGING OF OUTSTANDING ACCOUNTS PAYABLE - as of 06/30/2019 (POST-PETITION)

Debtor                                             Debtor                                            Case No.        Current            31-60       61-90            >90              Total
Miami Metals I LLC                                 Republic Metals Refining Corporation              18-13359                                                                          $        -
Miami Metals II LLC                                Republic Metals Corporation                       18-13360              1,037,736                                                      1,037,736
Miami Metals III LLC                               Republic Carbon Company                           18-13361                                                                                   -
Miami Metals IV LLC                                J&L Republic LLC                                  18-13642                                                                                   -
Miami Metals V LLC                                 R & R Metals, LLC                                 18-13643                                                                                   -
Republic Metals Trading (Shanghai)Co, Ltd          Republic Metals Trading (Shanghai)Co, Ltd         13-13645                  15,613                                                        15,613
Republic Trans Mexico Metals, SRL (1)              Republic Trans Mexico Metals, SRL (1)             13-13644                                                                                   -
Miami Metals VI LLC                                RMC Diamonds                                      18-13639                                                                                   -
Miami Metals VII LLC                               RMC2, LLC                                         18-13641                                                                                   -
Miami Metals VIII LLC                              Republic High Tech Metals, LLC                    18-13638                                                                                   -
                                                                                                          Total       $    1,053,349    $       -    $          -     $          -    $   1,053,349

MOR 5 - AGING OF OUTSTANDING ACCOUNTS PAYABLE - as of 06/30/2019 (PRE-PETITION)

Debtor                                             Debtor                                            Case No.        Current            31-60       61-90            >90            Total
Miami Metals I LLC                                 Republic Metals Refining Corporation              18-13359                                                         $ 1,204,669 $ 1,204,669
Miami Metals II LLC                                Republic Metals Corporation                       18-13360                                                           101,813,947   101,813,947
Miami Metals III LLC                               Republic Carbon Company                           18-13361                                                             1,115,934     1,115,934
Miami Metals IV LLC                                J&L Republic LLC                                  18-13642                                                                   -             -
Miami Metals V LLC                                 R & R Metals, LLC                                 18-13643                                                                   -             -
Republic Metals Trading (Shanghai)Co, Ltd          Republic Metals Trading (Shanghai)Co, Ltd         13-13645                                                                   497           497
Republic Trans Mexico Metals, SRL (1)              Republic Trans Mexico Metals, SRL                 13-13644                                                            16,925,083    16,925,083
Miami Metals VI LLC                                RMC Diamonds                                      18-13639                                                                   -             -
Miami Metals VII LLC                               RMC2, LLC                                         18-13641                                                             6,297,701     6,297,701
Miami Metals VIII LLC                              Republic High Tech Metals, LLC                    18-13638                                                                                 -
                                                                                                           Total       $          -     $       -    $          -     $ 127,357,831   $ 127,357,831
Notes:
* Post-petition amounts are strictly ordinary course vendor obligations and do not include any metal obligations payable
* Pre-petition amounts include both ordinary course vendor obligations and metal obligations payable


MOR 5 - AGING OF OUTSTANDING ESTIMATED RECEIVABLE - as of 06/30/19

Debtor                                             Debtor                                            Case No.        Current            31-60       61-90            >90              Total
Miami Metals I LLC                                 Republic Metals Refining Corporation              18-13359                     -             -                            51,254    $        51,254
Miami Metals II LLC                                Republic Metals Corporation                       18-13360                                   -                            20,126             20,126
Miami Metals III LLC                               Republic Carbon Company                           18-13361                     -             -               -               -                  -
Miami Metals IV LLC                                J&L Republic LLC                                  18-13642                     -             -               -               -                  -
Miami Metals V LLC                                 R & R Metals, LLC                                 18-13643                     -             -               -               -                  -
Republic Metals Trading (Shanghai)Co, Ltd          Republic Metals Trading (Shanghai)Co, Ltd.        13-13645                     -             -               -               -                  -
Republic Trans Mexico Metals, SRL (1)              Republic Trans Mexico Metals, SRL                 13-13644                                   -               -               -                  -
Miami Metals VI LLC                                RMC Diamonds                                      18-13639                     -             -               -               -                  -
Miami Metals VII LLC                               RMC2, LLC                                         18-13641                     -             -               -                                  -
Miami Metals VIII LLC                              Republic High Tech Metals, LLC                    18-13638                     -             -               -                -                 -
                                                                                                          Total       $           -     $       -    $          -     $      71,380   $         71,380
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                   In re Republic Metals Refining Corporation (Miami Metals I LLC), et al                                                         Case No. 18-13359
                         Debtor                                                                                                          Reporting Period: 06/01/2019 - 06/30/2019

                                                                MOR 6 - PAYMENTS TO INSIDERS AND PROFESSIONALS
Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
(e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.



                                                                                       INSIDERS
PAID TO                 COMPANY                                         DATE                          TYPE OF PAYMENT                    AMOUNT PAID           TOTAL PAID TO DATE
Jason Rubin             Miami Metals I LLC                                                                  N/A                      $             -       $                   -
                        Miami Metals II LLC                                                                 N/A                                                            102,677
                        Miami Metals VI LLC                                                                 N/A                                                                -
                        Miami Metals VII LLC                                                                N/A                                                                -

Rose Rubin              Miami Metals I LLC                                                                    N/A
                        Miami Metals II LLC                                                                   N/A                                     -                     14,722

Lindsey Rubin           Miami Metals I LLC                                                                    N/A                                                              -
                        Miami Metals II LLC                                                                   N/A                                     -                     27,578
                                                                                                                                                                               -
David Comite            Miami Metals I LLC                                                                    N/A
                        Miami Metals II LLC                                                                   N/A                                                           71,001
                        Republic Metals Trading (Shanghai)Co, Ltd                                             N/A                                                              -

Alan Silverstein        Miami Metals II LLC                                                                   N/A                                                           46,717
                                                                                                                                                                               -
Rafael Carbonnell       Miami Metals II LLC                                                                   N/A                                                           30,900

Zachary Shair           Miami Metals III LLC                                                                  N/A                                     -                        -
                        Miami Metals VIII LLC                                                                 N/A                                     -                        -
                        Republic Trans Mexico Metals, SRL (1)                                                 N/A                                     -                        -
                        Miami Metals V LLC                                                                    N/A                                     -                        -
                        Miami Metals IV LLC                                                                   N/A                                     -                        -

Scott Avila             Miami Metals I LLC                                                                    N/A                                     -                        -
                        Miami Metals II LLC                                                                   N/A                                     -                        -


                     TOTAL PAYMENTS TO INSIDERS                                                                                 $                     -    $               293,594
Notes:
* David Comite transition to a non-officer role effective in March
* Zachary Shair received wages from Republic Metals Corporation where he is not considered an insider
* Wages amounts reflect aggregate weekly cash payments made during the reporting period, net of witholding and other deductions.
* Excludes payments made to Paladin Management Group, LLC
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In re Republic Metals Refining Corporation (Miami Metals I LLC), et al                      Case No.        18-13359
      Debtor                                                                       Reporting Period: 06/01/2019 - 06/30/2019



                                               DEBTOR QUESTIONNAIRE
      Must be completed each month. If the answer to any of the                          Yes                   No
      questions is “Yes”, provide a detailed explanation of each item.
      Attach additional sheets if necessary.
      Have any assets been sold or transferred outside the normal course of                                     X
    1 business this reporting period?
        Have any funds been disbursed from any account other than a debtor in
    2                                                                                    N/A                   N/A
        possession account this reporting period?
        Is the Debtor delinquent in the timely filing of any post-petition tax                                  X
    3
        returns?
        Are workers compensation, general liability or other necessary                                          X
    4   insurance coverages expired or cancelled, or has the debtor received
        notice of expiration or cancellation of such policies?
    5   Is the debtor deliquent in paying any insurance premium payment?                                        X
        Have any payments been made on pre-petition liabilities this reporting
    6   period?                                                                                                 X
        Are any post petition receivables (accounts, notes or loans) due from
    7   related parties?                                                                                        X
   8    Are any post petition payroll taxes past due?                                                           X
   9    Are any post petition State or Federal income taxes past due?                                           X
  10    Are any post petition real estate taxes past due?                                                       X
  11    Are any other post petition taxes past due?                                                             X
  12    Have any pre-petition taxes been paid during this reporting period?                                     X
  13    Are any amounts owed to post petition creditors delinquent?                                             X
  14    Are any wage payments past due?                                                                         X
        Have any post petition loans been been received by the Debtor from any                                  X
  15    party?
  16    Is the Debtor delinquent in paying any U.S. Trustee fees?                                               X
        Is the Debtor delinquent with any court ordered payments to attorneys or                                X
  17    other professionals?
        Have the owners or shareholders received any compensation outside of                                    X
  18    the normal course of business?

Explanations of "Yes" Responses:




                                                                                                                         FORM MOR-7
                                                                                                                               2/2008
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